                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 1 of 14 Page ID #:75



                                                                1   LAWRENCE BORYS (SBN 60625)
                                                                    MICHAEL T. OHIRA (SBN 126137)
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                                                                5               michael.ohira@rmkb.com
                                                                6   Attorneys for Defendants
                                                                    MARILYN THOMASSEN, MARILYN
                                                                7   THOMASSEN & ASSOCIATES, P.C., M.
                                                                    THOMASSEN & ASSOCIATES P.C. and
                                                                8   AMERICAN IMMIGRATION LAW
                                                                    CENTER
                                                                9
Ropers Majeski Kohn & Bentley




                                                               10                         UNITED STATES DISTRICT COURT
                                                               11              CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                A Professional Corporation




                                                               12
                                       Los Angeles




                                                               13   THOMAS A. SEAMAN, Receiver,                   CASE NO. 8:18-CV-00349-CJC-DFM
                                                               14                                                 ANSWER BY DEFENDANTS
                                                                                       Plaintiff,                 MARILYN THOMASSEN;
                                                               15                                                 MARILYN THOMASSEN &
                                                                                                                  ASSOCIATES, P.C.; M.
                                                               16
                                                                    v.                                            THOMASSEN & ASSOCIATES
                                                                                                                  P.C.; AND AMERICAN
                                                               17   MARILYN THOMASSEN, an                         IMMIGRATION LAW CENTER,
                                                                                                                  TO PLAINTIFF’S FIRST
                                                               18
                                                                    individual; MARILYN THOMASSEN                 AMENDED COMPLAINT
                                                                    & ASSOCIATES, P.C., a California
                                                               19   professional corporation; M.                  DEMAND FOR JURY TRIAL
                                                               20   THOMASSEN & ASSOCIATES, P.C.,                 Complaint Served: April 17, 2018
                                                                    a California professional corporation;        Trial Date: TBD
                                                               21   and AMERICAN IMMIGRATION
                                                               22   LAW CENTER, a California
                                                                    professional corporation,
                                                               23
                                                                                       Defendants.
                                                               24

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                                                                    4852-8441-9692.1                          -1-
                                                                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 2 of 14 Page ID #:76



                                                                1            COMES NOW, Defendants MARILYN THOMASSEN, MARILYN
                                                                2   THOMASSEN & ASSOCIATES, P.C., M. THOMASSEN & ASSOCIATES P.C.
                                                                3   and AMERICAN IMMIGRATION LAW CENTER (collectively “Defendants”)
                                                                4   and Answers, jointly and severally, the First Amended Complaint of Plaintiff
                                                                5   THOMAS A. SEAMAN, Receiver, as follows:
                                                                6
                                                                             1.        In Answer to Paragraph 1 of the First Amended Complaint,
                                                                7
                                                                    Defendants are without sufficient knowledge or information to form a belief as to
                                                                8
                                                                    the truth of the allegations contained in said paragraph, and on that basis denies
                                                                9
Ropers Majeski Kohn & Bentley




                                                                    each and every allegation contained therein.
                                                               10
                                                                             2.        In Answer to Paragraph 2 of the First Amended Complaint,
                                                               11
                                A Professional Corporation




                                                                    Defendants are without sufficient knowledge or information to form a belief as to
                                                               12
                                       Los Angeles




                                                                    the truth of the allegations contained in said paragraph, and on that basis denies
                                                               13
                                                                    each and every allegation contained therein.
                                                               14
                                                                             3.        In Answer to Paragraph 3 of the First Amended Complaint,
                                                               15
                                                                    Defendants are without sufficient knowledge or information to form a belief as to
                                                               16
                                                                    the truth of the allegations contained in said paragraph, and on that basis denies
                                                               17
                                                                    each and every allegation contained therein.
                                                               18
                                                                             4.        In Answer to Paragraph 4 of the First Amended Complaint,
                                                               19
                                                                    Defendants are without sufficient knowledge or information to form a belief as to
                                                               20
                                                                    the truth of the allegations contained in said paragraph, and on that basis denies
                                                               21
                                                                    each and every allegation contained therein.
                                                               22
                                                                             5.        In Answer to Paragraph 5 of the First Amended Complaint,
                                                               23
                                                                    Defendants are without sufficient knowledge or information to form a belief as to
                                                               24
                                                                    the truth of the allegations contained in said paragraph, and on that basis denies
                                                               25
                                                                    each and every allegation contained therein.
                                                               26
                                                                             6.        In Answer to Paragraph 6 of the First Amended Complaint,
                                                               27
                                                                    Defendants admit that Defendant Marilyn Thomassen is an individual licensed to
                                                               28
                                                                    4852-8441-9692.1                            -2-
                                                                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 3 of 14 Page ID #:77



                                                                1   practice law in California. Except as so admitted, Defendants deny each and every
                                                                2   allegation contained in said paragraph.
                                                                3            7.        In Answer to Paragraph 7 of the First Amended Complaint,
                                                                4   Defendants admit such allegation.
                                                                5            8.        In Answer to Paragraph 8 of the First Amended Complaint,
                                                                6   Defendants admit such allegation.
                                                                7            9.        In Answer to Paragraph 9 of the First Amended Complaint,
                                                                8   Defendants admit such allegation.
                                                                9            10.       In Answer to Paragraph 10 of the First Amended Complaint,
Ropers Majeski Kohn & Bentley




                                                               10   Defendants admit that Defendant Marilyn Thomassen is a principal of Marilyn
                                                               11   Thomassen & Associates, PC, M. Thomassen & Associates PC, and American
                                A Professional Corporation




                                                               12   Immigration Law Center. Except as so admitted, Defendants deny each and every
                                       Los Angeles




                                                               13   allegation contained in said paragraph.
                                                               14            11.       In Answer to Paragraph 11 of the First Amended Complaint,
                                                               15   Defendants are without sufficient knowledge or information to form a belief as to
                                                               16   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               17   each and every allegation contained therein.
                                                               18            12.       In Answer to Paragraph 12 of the First Amended Complaint,
                                                               19   Defendants are without sufficient knowledge or information to form a belief as to
                                                               20   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               21   each and every allegation contained therein.
                                                               22            13.       In Answer to Paragraph 13 of the First Amended Complaint,
                                                               23   Defendants are without sufficient knowledge or information to form a belief as to
                                                               24   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               25   each and every allegation contained therein.
                                                               26            14.       In Answer to Paragraph 14 of the First Amended Complaint,
                                                               27   Defendants are without sufficient knowledge or information to form a belief as to
                                                               28   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                    4852-8441-9692.1                               -3-
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 4 of 14 Page ID #:78



                                                                1   each and every allegation contained therein.
                                                                2            15.       In Answer to Paragraph 15 of the First Amended Complaint,
                                                                3   Defendants are without sufficient knowledge or information to form a belief as to
                                                                4   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                5   each and every allegation contained therein.
                                                                6            16.       In Answer to Paragraph 16 of the First Amended Complaint,
                                                                7   Defendants are without sufficient knowledge or information to form a belief as to
                                                                8   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                9   each and every allegation contained therein.
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                                                               10            17.       In Answer to Paragraph 17 of the First Amended Complaint,
                                                               11   Defendants are without sufficient knowledge or information to form a belief as to
                                A Professional Corporation




                                                               12   the truth of the allegations contained in said paragraph, and on that basis denies
                                       Los Angeles




                                                               13   each and every allegation contained therein.
                                                               14            18.       In Answer to Paragraph 18 of the First Amended Complaint,
                                                               15   Defendants are without sufficient knowledge or information to form a belief as to
                                                               16   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               17   each and every allegation contained therein.
                                                               18            19.       In Answer to Paragraph 19 of the First Amended Complaint,
                                                               19   Defendants are without sufficient knowledge or information to form a belief as to
                                                               20   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               21   each and every allegation contained therein.
                                                               22            20.       In Answer to Paragraph 20 of the First Amended Complaint,
                                                               23   Defendants are without sufficient knowledge or information to form a belief as to
                                                               24   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               25   each and every allegation contained therein.
                                                               26            21.       In Answer to Paragraph 21 of the First Amended Complaint,
                                                               27   Defendants are without sufficient knowledge or information to form a belief as to
                                                               28   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                    4852-8441-9692.1                               -4-
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 5 of 14 Page ID #:79



                                                                1   each and every allegation contained therein.
                                                                2            22.       In Answer to Paragraph 22 of the First Amended Complaint,
                                                                3   Defendants are without sufficient knowledge or information to form a belief as to
                                                                4   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                5   each and every allegation contained therein.
                                                                6            23.       In Answer to Paragraph 23 of the First Amended Complaint,
                                                                7   Defendants are without sufficient knowledge or information to form a belief as to
                                                                8   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                9   each and every allegation contained therein.
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                                                               10            24.       In Answer to Paragraph 24 of the First Amended Complaint,
                                                               11   Defendants are without sufficient knowledge or information to form a belief as to
                                A Professional Corporation




                                                               12   the truth of the allegations contained in said paragraph, and on that basis denies
                                       Los Angeles




                                                               13   each and every allegation contained therein.
                                                               14            25.       In Answer to Paragraph 25 of the First Amended Complaint,
                                                               15   Defendants deny each and every allegation contained therein.
                                                               16            26.       In Answer to Paragraph 26 of the First Amended Complaint,
                                                               17   Defendants are without sufficient knowledge or information to form a belief as to
                                                               18   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               19   each and every allegation contained therein.
                                                               20            27.       In Answer to Paragraph 27 of the First Amended Complaint,
                                                               21   Defendants are without sufficient knowledge or information to form a belief as to
                                                               22   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               23   each and every allegation contained therein.
                                                               24            28.       In Answer to Paragraph 28 of the First Amended Complaint,
                                                               25   Defendants are without sufficient knowledge or information to form a belief as to
                                                               26   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               27   each and every allegation contained therein.
                                                               28            29.       In Answer to Paragraph 29 of the First Amended Complaint,
                                                                    4852-8441-9692.1                               -5-
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 6 of 14 Page ID #:80



                                                                1   Defendants deny each and every allegation contained therein.
                                                                2            30.       In Answer to Paragraph 30 of the First Amended Complaint,
                                                                3   Defendants are without sufficient knowledge or information to form a belief as to
                                                                4   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                5   each and every allegation contained therein.
                                                                6            31.       In Answer to Paragraph 31 of the First Amended Complaint,
                                                                7   Defendants are without sufficient knowledge or information to form a belief as to
                                                                8   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                9   each and every allegation contained therein.
Ropers Majeski Kohn & Bentley




                                                               10            32.       In Answer to Paragraph 32, Defendants incorporate their responses to
                                                               11   paragraphs 1 through 31, inclusive, set forth above.
                                A Professional Corporation




                                                               12            33.       In Answer to Paragraph 33 of the First Amended Complaint,
                                       Los Angeles




                                                               13   Defendants are without sufficient knowledge or information to form a belief as to
                                                               14   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               15   each and every allegation contained therein.
                                                               16            34.       In Answer to Paragraph 34 of the First Amended Complaint,
                                                               17   Defendants are without sufficient knowledge or information to form a belief as to
                                                               18   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               19   each and every allegation contained therein.
                                                               20            35.       In Answer to Paragraph 35 of the First Amended Complaint,
                                                               21   Defendants are without sufficient knowledge or information to form a belief as to
                                                               22   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               23   each and every allegation contained therein.
                                                               24            36.       In Answer to Paragraph 36 of the First Amended Complaint,
                                                               25   Defendants deny each and every allegation contained therein.
                                                               26            37.       In Answer to Paragraph 37, Defendants incorporate their responses to
                                                               27   paragraphs 1 through 36, inclusive, set forth above.
                                                               28
                                                                    4852-8441-9692.1                               -6-
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 7 of 14 Page ID #:81



                                                                1            38.       In Answer to Paragraph 38 of the First Amended Complaint,
                                                                2   Defendants are without sufficient knowledge or information to form a belief as to
                                                                3   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                4   each and every allegation contained therein.
                                                                5            39.       In Answer to Paragraph 39 of the First Amended Complaint,
                                                                6   Defendants are without sufficient knowledge or information to form a belief as to
                                                                7   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                8   each and every allegation contained therein.
                                                                9            40.       In Answer to Paragraph 40 of the First Amended Complaint,
Ropers Majeski Kohn & Bentley




                                                               10   Defendants are without sufficient knowledge or information to form a belief as to
                                                               11   the truth of the allegations contained in said paragraph, and on that basis denies
                                A Professional Corporation




                                                               12   each and every allegation contained therein.
                                       Los Angeles




                                                               13            41.       In Answer to Paragraph 41 of the First Amended Complaint,
                                                               14   Defendants deny each and every allegation contained therein.
                                                               15            42.       In Answer to Paragraph 42 of the First Amended Complaint,
                                                               16   Defendants deny each and every allegation contained therein.
                                                               17            43.       In Answer to Paragraph 43 of the First Amended Complaint,
                                                               18   Defendants deny each and every allegation contained therein.
                                                               19            44.       In Answer to Paragraph 44, Defendants incorporate their responses to
                                                               20   paragraphs 1 through 43, inclusive, set forth above.
                                                               21            45.       In Answer to Paragraph 45 of the First Amended Complaint,
                                                               22   Defendants are without sufficient knowledge or information to form a belief as to
                                                               23   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               24   each and every allegation contained therein.
                                                               25            46.       In Answer to Paragraph 46 of the First Amended Complaint,
                                                               26   Defendants are without sufficient knowledge or information to form a belief as to
                                                               27   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               28   each and every allegation contained therein.
                                                                    4852-8441-9692.1                               -7-
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 8 of 14 Page ID #:82



                                                                1            47.       In Answer to Paragraph 47 of the First Amended Complaint,
                                                                2   Defendants are without sufficient knowledge or information to form a belief as to
                                                                3   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                4   each and every allegation contained therein.
                                                                5            48.       In Answer to Paragraph 48 of the First Amended Complaint,
                                                                6   Defendants are without sufficient knowledge or information to form a belief as to
                                                                7   the truth of the allegations contained in said paragraph, and on that basis denies
                                                                8   each and every allegation contained therein.
                                                                9            49.       In Answer to Paragraph 49 of the First Amended Complaint,
Ropers Majeski Kohn & Bentley




                                                               10   Defendants deny each and every allegation contained therein.
                                                               11            50.       In Answer to Paragraph 50 of the First Amended Complaint,
                                A Professional Corporation




                                                               12   Defendants are without sufficient knowledge or information to form a belief as to
                                       Los Angeles




                                                               13   the truth of the allegations contained in said paragraph, and on that basis denies
                                                               14   each and every allegation contained therein.
                                                               15            51.       In Answer to Paragraph 51 of the First Amended Complaint,
                                                               16   Defendants deny each and every allegation contained therein.
                                                               17            52.       In Answer to Paragraph 52 of the First Amended Complaint,
                                                               18   Defendants deny each and every allegation contained therein.
                                                               19            53.       In Answer to Paragraph 53 of the First Amended Complaint,
                                                               20   Defendants deny each and every allegation contained therein.
                                                               21                                FIRST AFFIRMATIVE DEFENSE
                                                               22                                        (Comparative Fault)
                                                               23            1.        That any injury, damage or loss, if any, sustained by the real parties in
                                                               24   interest herein, was proximately caused and contributed to by the real parties in
                                                               25   interest and fault on their part in that they did not exercise ordinary care on their
                                                               26   own behalf at the times and places as set forth in the First Amended Complaint on
                                                               27   file herein.
                                                               28
                                                                    4852-8441-9692.1                                -8-
                                                                                                      ANSWER TO FIRST AMENDED COMPLAINT
                                                             Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 9 of 14 Page ID #:83



                                                                1                               SECOND AFFIRMATIVE DEFENSE
                                                                2                                                (Waiver)
                                                                3            2.        That the real parties in interest herein, during the course of the
                                                                4   activities described in the First Amended Complaint, and by acts, errors and
                                                                5   omissions on their own part, waived any right to claim damage or injury allegedly
                                                                6   suffered by reason of any acts and/or omissions of Defendants.
                                                                7                                THIRD AFFIRMATIVE DEFENSE
                                                                8                                               (Estoppel)
                                                                9            3.        That by reason of certain acts, errors and omissions committed or
Ropers Majeski Kohn & Bentley




                                                               10   omitted by real parties in interest herein, Plaintiff is estopped from claiming any
                                                               11   damage or injury by reason of any acts of Defendants.
                                A Professional Corporation




                                                               12                               FOURTH AFFIRMATIVE DEFENSE
                                       Los Angeles




                                                               13        (Statute of Limitations – First Claim for Breach of Escrow Agreements)
                                                               14            4.        That the First Claim for Relief for Breach of Escrow Agreements is
                                                               15   barred by virtue of the statute of limitations found in California Code of Civil
                                                               16   Procedure § 337, 338, 339, 340.6, and/or 343.
                                                               17                                FIFTH AFFIRMATIVE DEFENSE
                                                               18          (Statute of Limitations – Second Claim for Breach of Fiduciary Duty)
                                                               19            5.        That the Second Claim for Breach of Fiduciary Duty is barred by
                                                               20   virtue of the statute of limitations found in California Code of Civil Procedure §
                                                               21   337, 338, 339, 340.6, and/or 343.
                                                               22                                SIXTH AFFIRMATIVE DEFENSE
                                                               23        (Statute of Limitations - Third Claim for Aiding and Abetting Securities
                                                               24                                                 Fraud)
                                                               25            6.        That the Third Claim for Aiding and Abetting Securities Fraud is
                                                               26   barred by virtue of the statute of limitations found in California Code of Civil
                                                               27   Procedure § 337, 338, 339, 340.6, and/or 343; and/or Securities Exchange Act of
                                                               28   1934, § 10(b), 15 U.S.C.A. § 78j(b); 28 U.S.C.A. § 1658(b).
                                                                    4852-8441-9692.1                                -9-
                                                                                                      ANSWER TO FIRST AMENDED COMPLAINT
                                                      Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 10 of 14 Page ID #:84



                                                              1                              SEVENTH AFFIRMATIVE DEFENSE
                                                              2                                    (Failure to Mitigate Damages)
                                                              3            7.        That the real parties in interest failed to reasonably mitigate damages
                                                              4   and, as a result, any injuries or damages contended to have been suffered by the real
                                                              5   parties in interest should be reduced accordingly.
                                                              6                              EIGTHTH AFFIRMATIVE DEFENSE
                                                              7                                (Superseding and Intervening Acts)
                                                              8            8.        Defendants are informed and believe and thereupon allege that the
                                                              9   damages sought by Plaintiff, as receiver for the real parties in interest were
Ropers Majeski Kohn & Bentley




                                                             10   proximately caused or contributed to by acts of other parties, persons or entities,
                                                             11   and that these acts were an intervening and superseding cause thus barring Plaintiff
                                A Professional Corporation




                                                             12   and the real parties in interest from recovery against Defendants for same.
                                       Los Angeles




                                                             13                              SEVENTH AFFIRMATIVE DEFENSE
                                                             14                                            (Unclean Hands)
                                                             15            9.        That at all times relevant hereto, the claims of Plaintiff, as receiver for
                                                             16   the real parties in interest, and each of them, are barred by the doctrine of unclean
                                                             17   hands.
                                                             18                               EIGHTH AFFIRMATIVE DEFENSE
                                                             19                                                 (Laches)
                                                             20            10.       Defendants allege that by reason of laches on the part of the real
                                                             21   parties in interest, Plaintiff as receiver for the real parties in interest is prevented
                                                             22   from asserting the causes of action alleged in the First Amended Complaint.
                                                             23                         NINTH SEPARATE AFFIRMATIVE DEFENSE
                                                             24                                            (In Pari Delicto)
                                                             25            11.       That at all times herein mentioned, Defendants are informed and
                                                             26   believe and thereupon allege that Plaintiff Receiver and/or the real parties in
                                                             27   interest are actively and affirmatively at fault, either fully or partially, for the
                                                             28   matters alleged in the First Amended Complaint and were thus in pari delicto and
                                                                  4852-8441-9692.1                                 - 10 -
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                      Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 11 of 14 Page ID #:85



                                                              1   as a result thereof, neither the Receiver nor the real parties in interest may maintain
                                                              2   the present action.
                                                              3                                TENTH AFFIRMATIVE DEFENSE
                                                              4                                      (Assumption of the Risk)
                                                              5            12.       That by reason of certain acts, errors and omissions committed or
                                                              6   omitted by real parties in interest, the Plaintiff Receiver and real parties in interest
                                                              7   are estopped from claiming any damage or injury by reason of any act of
                                                              8   Defendants.
                                                              9                             ELEVENTH AFFIRMATIVE DEFENSE
Ropers Majeski Kohn & Bentley




                                                             10                          (Failure to State Cause of Action – First Claim)
                                                             11            13.       That the first claim for breach of escrow agreements fails to state facts
                                A Professional Corporation




                                                             12   sufficient to constitute a claim against these answering Defendants.
                                       Los Angeles




                                                             13                             TWELFTH AFFIRMATIVE DEFENSE
                                                             14                        (Failure to State Cause of Action – Second Claim)
                                                             15            14.       That the second claim for breach of fiduciary duty fails to state facts
                                                             16   sufficient to constitute a claim against these answering Defendants.
                                                             17                           THIRTEENTH AFFIRMATIVE DEFENSE
                                                             18                        (Failure to State Cause of Action – Second Claim)
                                                             19            15.       That the third claim for aiding and abetting securities fraud fails to
                                                             20   state facts sufficient to constitute a claim against these answering Defendants.
                                                             21                           FOURTEENTH AFFIRMATIVE DEFENSE
                                                             22                                    (Lack of Duty – First Claim)
                                                             23            16.       With respect to the matters set forth in Plaintiff’s First Amended
                                                             24   Complaint, these answering Defendants did not owe the Plaintiff Receiver or the
                                                             25   real parties in interest the duties alleged in Plaintiff’s first claim for breach of
                                                             26   escrow agreements.
                                                             27

                                                             28
                                                                  4852-8441-9692.1                                - 11 -
                                                                                                    ANSWER TO FIRST AMENDED COMPLAINT
                                                      Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 12 of 14 Page ID #:86



                                                              1                             FIFTEENTH AFFIRMATIVE DEFENSE
                                                              2                                   (Lack of Duty – Second Claim)
                                                              3            17.       With respect to the matters set forth in Plaintiff’s First Amended
                                                              4   Complaint, these answering Defendants did not owe the Plaintiff Receiver or the
                                                              5   real parties in interest the duties alleged in Plaintiff’s second claim for breach of
                                                              6   fiduciary duty.
                                                              7                             SIXTEENTH AFFIRMATIVE DEFENSE
                                                              8                                    (Lack of Duty – Third Claim)
                                                              9            18.       With respect to the matters set forth in Plaintiff’s First Amended
Ropers Majeski Kohn & Bentley




                                                             10   Complaint, these answering Defendants did not owe the Plaintiff Receiver or the
                                                             11   real parties in interest the duties alleged in Plaintiff’s third claim for aiding and
                                A Professional Corporation




                                                             12   abetting securities fraud.
                                       Los Angeles




                                                             13                  SEVENTEENTH SEPARATE AFFIRMATIVE DEFENSE
                                                             14                                  (Lack of Standing – First Claim)
                                                             15            19.       That Plaintiff and/or real parties in interest, lack standing to pursue
                                                             16   Defendants for the claims asserted in the first claim for breach of escrow
                                                             17   agreements.
                                                             18                      EIGHTEENTH SEPARATE AFFIRMATIVE DEFENSE
                                                             19                                 (Lack of Standing – Second Claim)
                                                             20            20.       That Plaintiff and/or real parties in interest, lack standing to pursue
                                                             21   Defendants for the claims asserted in the second claim for breach of fiduciary duty.
                                                             22                      NINTEENTH SEPARATE AFFIRMATIVE DEFENSE
                                                             23                                 (Lack of Standing – Third Claim)
                                                             24            21.       That Plaintiff and/or real parties in interest, lack standing to pursue
                                                             25   Defendants for the claims asserted in the third claim for aiding and abetting
                                                             26   securities fraud.
                                                             27

                                                             28
                                                                  4852-8441-9692.1                                - 12 -
                                                                                                    ANSWER TO FIRST AMENDED COMPLAINT
                                                      Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 13 of 14 Page ID #:87



                                                              1                      TWENTIETH SEPARATE AFFIRMATIVE DEFENSE
                                                              2                               (Reservation of Affirmative Defenses)
                                                              3            22.       Defendants hereby reserve the right to raise new, separate, distinct and
                                                              4   additional affirmative defenses which may be appropriate based upon facts and
                                                              5   information developed in this litigation and Defendants will seek to file an
                                                              6   amendment to this answer at such appropriate time.
                                                              7            Wherefore, Defendants request relief as follows:
                                                              8            1.        That Plaintiff and/or real parties in interest, take nothing by way of the
                                                              9   First Amended Complaint;
Ropers Majeski Kohn & Bentley




                                                             10            2.        For judgment in favor of Defendants, and that Plaintiff’s action be
                                                             11   dismissed in its entirety with prejudice as against Defendants;
                                A Professional Corporation




                                                             12            3.        For costs of suit;
                                       Los Angeles




                                                             13            4.        For attorney’s fees; and
                                                             14            5.        For such other and further relief as the Court deems appropriate.
                                                             15

                                                             16                                   DEMAND FOR JURY TRIAL
                                                             17            Defendants, and each of them, respectfully make a demand for a trial by jury
                                                             18   in this action.
                                                             19
                                                                  Dated: July 3, 2018                            ROPERS, MAJESKI, KOHN & BENTLEY
                                                             20

                                                             21
                                                                                                                 By: /s/ Michael T. Ohira
                                                             22                                                    LAWRENCE BORYS
                                                                                                                   MICHAEL T. OHIRA
                                                             23                                                    Attorneys for Defendants MARILYN
                                                                                                                   THOMASSEN; MARILYN
                                                             24                                                    THOMASSEN & ASSOCIATES, P.C.;
                                                                                                                   M. THOMASSEN & ASSOCIATES
                                                             25                                                    P.C.; AND AMERICAN
                                                                                                                   IMMIGRATION LAW CENTER
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                                                                  4852-8441-9692.1                                 - 13 -
                                                                                                     ANSWER TO FIRST AMENDED COMPLAINT
                                                      Case 8:18-cv-00349-CJC-DFM Document 18 Filed 07/03/18 Page 14 of 14 Page ID #:88



                                                              1                                   PROOF OF SERVICE
                                                              2            I, Kimberly Cederquist, declare:
                                                              3          I am a citizen of the United States and employed in Los Angeles County,
                                                                  California. I am over the age of eighteen years and not a party to the within-entitled
                                                              4   action. My business address is 445 South Figueroa Street, Suite 3000, Los
                                                                  Angeles, CA 90071.
                                                              5
                                                                       On July 3, 2018, I electronically filed via my electronic service address
                                                              6   (Kimberly.cederquist@rmkb.com) the attached document:
                                                              7                 ANSWER BY DEFENDANTS MARILYN THOMASSEN;
                                                                                 MARILYN THOMASSEN & ASSOCIATES, P.C.; M.
                                                              8                 THOMASSEN & ASSOCIATES P.C.; AND AMERICAN
                                                                               IMMIGRATION LAW CENTER, TO PLAINTIFF’S FIRST
                                                              9                 AMENDED COMPLAINT / DEMAND FOR JURY TRIAL
Ropers Majeski Kohn & Bentley




                                                             10   with the Clerk of the court using the CM/ECF system which will then send a
                                                                  notification of such filing to the following:
                                                             11
                                A Professional Corporation




                                                                  David R. Zaro (Bar No. 124334)        Attorneys for Plaintiff
                                                             12
                                                                  Michael R. Farrell (Bar No. 173831)   THOMAS A. SEAMAN, Receiver
                                       Los Angeles




                                                             13   Peter A. Griffin (Bar No. 306201)
                                                                  ALLEN MATKINS LECK GAMBLE
                                                             14
                                                                  MALLORY & NATSIS LLP
                                                             15   865 South Figueroa Street, Suite 2800
                                                                  Los Angeles, California 90017-2543
                                                             16
                                                                  T: (213) 622-5555
                                                             17   F: (213) 620-8816
                                                                  E-Mail:     dzaro@allenmatkins.com
                                                             18
                                                                              mfarrell@allenmatkins.com
                                                             19               pgriffin@allenmatkins.com
                                                             20
                                                                       And I hereby do certify that I have mailed by United States Postal Service the
                                                             21
                                                                  document to the following non CM/ECF participants: N/A
                                                             22
                                                                         I declare under penalty of perjury under the laws of the State of California
                                                             23
                                                                  that the above is true and correct.
                                                             24
                                                                           Executed on July 3, 2018, at Los Angeles, California.
                                                             25

                                                             26

                                                             27                                             /s/ Kimberly Cederquist
                                                                                                            Kimberly Cederquist
                                                             28
                                                                  4852-8441-9692.1                            - 14 -
                                                                                                ANSWER TO FIRST AMENDED COMPLAINT
